                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION

SNUGGLYCAT INC.                  )
                                 )
                Plaintiff        )
                                 )
                v.               )                Case No.:     6:18-CV-03110 SRB
                                 )
OPFER COMMUNICATIONS, INC.       )
SCOTT OPFER, KRISSY BERNHARDI, )
CHRIS LOUZADER, ROB WHITE,       )
LORI ROBERTSON,                  )
JAMES BARTON,                    )
DOUG SCHAEN, MARCI BOWLING, )
and THE BARGAIN SHOW, LLC,       )
                                 )
                                 )
                Defendants       )
________________________________ )

  PLAINTIFF’S REQUEST FOR ADDITIONAL TIME TO AMEND PLEADINGS AND
                    DESIGNATE EXPERT WITNESSES

       COMES NOW Plaintiff, and hereby requests an additional thirty (30) days, up to

and including August 25, 2018, to amend pleadings. Plaintiff also requests an

additional thirty (30) days, up to and including August 31, 2018, to designate any expert

witnesses. Plaintiff agrees that Defendant’s expert deadlines should be extended by

thirty (30) days also. As grounds for this motion, Plaintiff states as follows:




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   1. Plaintiff and Defendants recently had a failed mediation.

   2. Based on new information recently learned, Plaintiff needs more time to re-

evaluate its claims and consider new claims or amendments to existing claims.

   3. Plaintiff needs additional time to provide information to its expert so the expert

report can be completed.

   4. Plaintiff’s Missouri counsel is currently on vacation until July 30, 2018. He is

taking the lead on the amendment and expert issues.

   5. Plaintiff will be prejudiced should this motion be denied because Plaintiff will not

have sufficient time, given the recent developments, to make the necessary

amendments to pleadings and designate any experts and complete the expert reports.

   6. Plaintiff’s extension of time will not prejudice the Defendants. Currently,

Defendants have until September 15, 2018 to designate any of their expert witnesses.

If the requested extension is granted, Defendants will have until October 15, 2018 to




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provide expert reports, which will still give both parties sufficient time take expert

depositions, and to comply with the Daubert Motion Deadline date of January 15, 2019.

   7. Plaintiff’s extension of time will not affect the trial date scheduled for June 24,

2019.

   8. Plaintiff requests the following new dates be set by the court:

           o Deadline for amending pleadings: August 25, 2018.

           o Deadline for Plaintiff’s expert disclosure: August 31, 2018.

           o Deadline for Defendant’s expert disclosure: October 15, 2018.

   9. Defense counsel stated he will not consent to this Motion.

        WHEREFORE Plaintiff respectfully requests this Court grant its Motion for

Extension of Time to amend its pleadings and to designate its expert witness and enter

the deadlines stated above; and for such other relief as the Court deems just and

proper.



                                    BROWN & JAMES, P.C.



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                                    and




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                                   Attorneys for Plaintiff


                              CERTIFICATE OF SERVICE

        I hereby certify that on July 25, 2018, the foregoing was filed electronically with
the Clerk of Court to be served by operation of the Court’s electronic filing system upon
the following:

Mr. Bernie Rhodes
Mr. Eric Sidler
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                                                 /s/ Steven H. Schwartz



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